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         EXHIBIT A-51
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G GOODWIN                                      Grant P. Fondo
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                                                             CONFIDENTIAL TREATMENT REQUESTED
                                                                   BY BAM TRADING SERVICES INC.
                                                                    PURSUANT TO 17 C.F.R. § 200.83
July 9, 2021



VIA FTP (ENF-CPU@SEC.GOV)

Kathleen Hitchins                                         ENF-CPU
Senior Counsel, Division of Enforcement                   U.S. Securities and Exchange Commission
U.S. Securities and Exchange Commission                   6315 Bren Mar Drive, Suite 175
100 F Street, NE                                          Alexandria, VA 22312
Washington, D.C. 20549-5720                               ENF-CPU@sec.gov


Re:     In the Matter of Binance.US (HO-13865)

Dear Ms. Hitchins:

As you know, we represent BAM Trading Services Inc. (“BAM Trading”) in the above captioned matter.
We write with respect to the subpoena issued by the U.S. Securities and Exchange Commission (the
“SEC”) to BAM Trading, dated December 17, 2020 (the “Subpoena”), in connection with the above-
referenced matter. In response to the Subpoena and pursuant to our prior discussions regarding the
Subpoena, enclosed please find BAM Trading’s fourteenth production of documents, bearing Bates-
stamp numbers BTS00042037 - BTS00058743. As previously agreed, BAM Trading will continue
producing responsive documents on a rolling basis.

       As reflected on the log attached hereto as Exhibit A, this production includes certain BAM Trading
business records that are primarily responsive to Request Nos. 1, 2, 3, 4, 5, 8, 9, 11, 13, 14, 21, 31, 38,
43, 44 45, and 47. Furthermore, attached hereto as Exhibit B are certain narratives responsive to
Requests No. 22, 28, 29. This production, along with this letter, are being provided contemporaneously
via secure file transfer to ENF-CPU at the above-identified address. The password to access the
production will be provided by email. We have not withheld any documents on the basis of privilege or
other protected grounds from this production, nor have any documents within this production been
redacted.

        None of the documents or information we are providing in response to the Subpoena are intended
to constitute a waiver of any attorney-client privilege, attorney work product protection, or any other legal
privilege or other protection. Any production of privileged or otherwise protected documents is
inadvertent.



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                                                                   BY BAM TRADING SERVICES INC.
                                                                    PURSUANT TO 17 C.F.R. § 200.83

                              *                       *                       *

         Pursuant to 17 C.F.R. § 200.83, we respectfully request confidential treatment for (i) this letter,
(ii) the materials transmitted with this letter, (iii) any memoranda, notes, correspondence, or other writings
made by any member or employee of the Commission relating to any of the foregoing documents or any
conference or telephone call with respect thereto, and (iv) any copies or extracts of any of the foregoing
(collectively, the “Confidential Materials”). This request for confidential treatment is made for reasons of
financial and business confidentiality under FOIA Exemption 4, 5 U.S.C. § 552(b)(4). This request is not
to be construed as a waiver of any other protection from disclosure or confidential treatment accorded by
law, and BAM Trading will rely on and invoke any such confidentiality protection. We respectfully request
that the Confidential Materials be maintained in confidence, not be made part of any public record, and
not be disclosed to any person as it contains confidential information. In accordance with 17 C.F.R.
§ 200.83(d)(1), if any person (including any governmental employee who is not an employee of the
Commission) should request access to or an opportunity to inspect this letter or any supplemental
materials transmitted herewith, we request that we be immediately notified of any such request, be
furnished with a copy of all written materials pertaining to such request (including, but not limited to, the
request itself) and be given at least ten business days advance notice of any intended release so that
BAM Trading may, if deemed necessary or appropriate, pursue any remedies available to it. In such an
event, we request that you contact the undersigned by telephone, in addition to sending the required
notice by mail.

                              *                       *                       *

Should you have any further questions regarding this matter, please do not hesitate to contact us.




   FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                          BTS00042026
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                                                             BY BAM TRADING SERVICES INC.
                                                              PURSUANT TO 17 C.F.R. § 200.83

Sincerely,

/s/ Grant P. Fondo

Grant P. Fondo
Meghan K. Spillane


cc:     Paul Kim, Assistant Director, U.S. Securities and Exchange Commission
        Ann Rosenfield, Senior Counsel, U.S. Securities and Exchange Commission
        Adam Gottlieb, Senior Counsel, U.S. Securities and Exchange Commission

        Matthew Solomon, Cleary Gottlieb Steen & Hamilton LLP
        Alexander Janghorbani, Cleary Gottlieb Steen & Hamilton LLP

Enclosures (via FTP)




      FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                BTS00042027
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                          In the Matter of Binance.US (HO-13865) EXHIBIT A



  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00000001     BTS00000005                              N/A                 BTS_Vol_001
BTS00000006     BTS00000066                               9                  BTS_Vol_001
BTS00000067     BTS00000096                              1, 5                BTS_Vol_001
BTS00000097     BTS00000099                              10                  BTS_Vol_001
BTS00000100     BTS00000222                              35                  BTS_Vol_001
BTS00000223     BTS00000271                              10                  BTS_Vol_001
BTS00000272     BTS00000274                              30                  BTS_Vol_001
BTS00000275     BTS00000281                             9, 35                BTS_Vol_001
BTS00000282     BTS00000282                               4                  BTS_Vol_001
BTS00000283     BTS00000287                              N/A                 BTS_Vol_002
BTS00000288     BTS00000502                               9                  BTS_Vol_002
BTS00000503     BTS00000510                           9, 15, 13              BTS_Vol_002
BTS00000511     BTS00000529                         9, 10, 15, 31            BTS_Vol_002
BTS00000530     BTS00002235                            15, 31                BTS_Vol_002
BTS00002236     BTS00002464                         15, 18, 31, 39           BTS_Vol_002
BTS00002465     BTS00003092                           15, 31, 39             BTS_Vol_002
BTS00003093     BTS00003098                         15, 19, 31, 39           BTS_Vol_002
BTS00003099     BTS00003101                       15, 19, 25, 26, 31         BTS_Vol_002
BTS00003102     BTS00003111                           6, 15, 31              BTS_Vol_002
BTS00003112     BTS00003196                         6, 15, 31, 39            BTS_Vol_002
BTS00003197     BTS00003977                         15, 25, 26, 31           BTS_Vol_002
BTS00003978     BTS00003989                       15, 25, 26, 31, 39         BTS_Vol_002
BTS00003990     BTS00004006                       6, 15, 25, 26, 31          BTS_Vol_002
BTS00004007     BTS00004018                           10, 15, 31             BTS_Vol_002
BTS00004019     BTS00004022                       6, 10, 15, 30, 31          BTS_Vol_002
BTS00004023     BTS00004058                    6, 7, 10, 15, 19, 31, 39      BTS_Vol_002
BTS00004059     BTS00004663                           7, 15, 31              BTS_Vol_002
BTS00004664     BTS00004672                      6, 7, 15, 18, 31, 39        BTS_Vol_002
BTS00004673     BTS00004689                         7, 15, 31, 39            BTS_Vol_002
BTS00004690     BTS00004692                         7, 15, 19, 31            BTS_Vol_002
BTS00004693     BTS00004835                          6, 7, 15, 31            BTS_Vol_002
BTS00004836     BTS00005010                        6, 7, 15, 31, 39          BTS_Vol_002
BTS00005011     BTS00005119                      6, 7, 15, 25, 26, 31        BTS_Vol_002
BTS00005120     BTS00005125                              N/A                 BTS_Vol_003
BTS00005126     BTS00005265                               9                  BTS_Vol_003
BTS00005266     BTS00005271                              30                  BTS_Vol_003
BTS00005272     BTS00005272                         6, 15, 31, 39            BTS_Vol_003
BTS00005273     BTS00005273                     6, 15, 25, 26, 31, 39        BTS_Vol_003
BTS00005274     BTS00005274                         7, 10, 25, 26            BTS_Vol_003
BTS00005275     BTS00005275                           10, 25, 26             BTS_Vol_003
BTS00005276     BTS00005278                          2, 3, 11, 14            BTS_Vol_003
BTS00005279     BTS00005337                              12                  BTS_Vol_003
BTS00005338     BTS00005338                              47                  BTS_Vol_003




FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                   BTS00042028
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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00005339     BTS00005339                        6, 7, 15, 31, 39          BTS_Vol_003
BTS00005340     BTS00005342                      6, 7, 19, 25, 26, 39        BTS_Vol_003
BTS00005343     BTS00005352                            25, 26                BTS_Vol_003
BTS00005353     BTS00005354                         7, 25, 26, 39            BTS_Vol_003
BTS00005355     BTS00005356                          6, 7, 25, 26            BTS_Vol_003
BTS00005357     BTS00005368                        6, 7, 25, 26, 39          BTS_Vol_003
BTS00005369     BTS00005385                           1, 4, 5, 9             BTS_Vol_003
BTS00005386     BTS00005386                         6, 19, 25, 26            BTS_Vol_003
BTS00005387     BTS00005387                       6, 19, 25, 26, 39          BTS_Vol_003
BTS00005388     BTS00005468                            25, 26                BTS_Vol_003
BTS00005469     BTS00005476                           25, 26, 39             BTS_Vol_003
BTS00005477     BTS00005499                         6, 25, 26, 39            BTS_Vol_003
BTS00005500     BTS00005506                              N/A                 BTS_Vol_004
BTS00005507     BTS00005522                              32                  BTS_Vol_004
BTS00005523     BTS00005523                              17                  BTS_Vol_004
BTS00005524     BTS00005525                              32                  BTS_Vol_004
BTS00005526     BTS00005579                              12                  BTS_Vol_004
BTS00005580     BTS00005580                              32                  BTS_Vol_004
BTS00005581     BTS00005612                            6, 7, 39              BTS_Vol_004
BTS00005613     BTS00005613                          6, 7, 25, 26            BTS_Vol_004
BTS00005614     BTS00005617                            6, 7, 39              BTS_Vol_004
BTS00005618     BTS00005618                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005619     BTS00005621                            6, 7, 39              BTS_Vol_004
BTS00005622     BTS00005624                              6, 7                BTS_Vol_004
BTS00005625     BTS00005626                            6, 7, 39              BTS_Vol_004
BTS00005627     BTS00005627                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005628     BTS00005632                            6, 7, 39              BTS_Vol_004
BTS00005633     BTS00005633                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005634     BTS00005634                              6, 7                BTS_Vol_004
BTS00005635     BTS00005641                            6, 7, 39              BTS_Vol_004
BTS00005642     BTS00005642                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005643     BTS00005661                            6, 7, 39              BTS_Vol_004
BTS00005662     BTS00005662                          6, 7, 25, 26            BTS_Vol_004
BTS00005663     BTS00005667                            6, 7, 39              BTS_Vol_004
BTS00005668     BTS00005670                              6, 7                BTS_Vol_004
BTS00005671     BTS00005676                            6, 7, 39              BTS_Vol_004
BTS00005677     BTS00005677                           7, 25, 26              BTS_Vol_004
BTS00005678     BTS00005683                            6, 7, 39              BTS_Vol_004
BTS00005684     BTS00005685                              6, 7                BTS_Vol_004
BTS00005686     BTS00005692                            6, 7, 39              BTS_Vol_004
BTS00005693     BTS00005693                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005694     BTS00005702                            6, 7, 39              BTS_Vol_004
BTS00005703     BTS00005703                          6, 7, 25, 26            BTS_Vol_004




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00005704     BTS00005745                            6, 7, 39              BTS_Vol_004
BTS00005746     BTS00005746                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005747     BTS00005759                            6, 7, 39              BTS_Vol_004
BTS00005760     BTS00005761                              6, 7                BTS_Vol_004
BTS00005762     BTS00005786                            6, 7, 39              BTS_Vol_004
BTS00005787     BTS00005788                              6, 7                BTS_Vol_004
BTS00005789     BTS00005800                            6, 7, 39              BTS_Vol_004
BTS00005801     BTS00005801                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005802     BTS00005813                            6, 7, 39              BTS_Vol_004
BTS00005814     BTS00005814                              6, 7                BTS_Vol_004
BTS00005815     BTS00005824                            6, 7, 39              BTS_Vol_004
BTS00005825     BTS00005825                          6, 7, 25, 26            BTS_Vol_004
BTS00005826     BTS00005830                            6, 7, 39              BTS_Vol_004
BTS00005831     BTS00005832                              6, 7                BTS_Vol_004
BTS00005833     BTS00005871                            6, 7, 39              BTS_Vol_004
BTS00005872     BTS00005873                              6, 7                BTS_Vol_004
BTS00005874     BTS00005889                            6, 7, 39              BTS_Vol_004
BTS00005890     BTS00005890                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00005891     BTS00005903                            6, 7, 39              BTS_Vol_004
BTS00005904     BTS00005905                              6, 7                BTS_Vol_004
BTS00005906     BTS00005931                            6, 7, 39              BTS_Vol_004
BTS00005932     BTS00005933                              6, 7                BTS_Vol_004
BTS00005934     BTS00005935                            6, 7, 39              BTS_Vol_004
BTS00005936     BTS00005937                              6, 7                BTS_Vol_004
BTS00005938     BTS00005949                            6, 7, 39              BTS_Vol_004
BTS00005950     BTS00005951                              6, 7                BTS_Vol_004
BTS00005952     BTS00005975                            6, 7, 39              BTS_Vol_004
BTS00005976     BTS00005977                              6, 7                BTS_Vol_004
BTS00005978     BTS00005984                            6, 7, 39              BTS_Vol_004
BTS00005985     BTS00005985                          6, 7, 25, 26            BTS_Vol_004
BTS00005986     BTS00006011                            6, 7, 39              BTS_Vol_004
BTS00006012     BTS00006017                              6, 7                BTS_Vol_004
BTS00006018     BTS00006024                            6, 7, 39              BTS_Vol_004
BTS00006025     BTS00006025                          6, 7, 25, 26            BTS_Vol_004
BTS00006026     BTS00006030                            6, 7, 39              BTS_Vol_004
BTS00006031     BTS00006031                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00006032     BTS00006156                              6, 7                BTS_Vol_004
BTS00006157     BTS00006162                            6, 7, 39              BTS_Vol_004
BTS00006163     BTS00006163                          6, 7, 25, 26            BTS_Vol_004
BTS00006164     BTS00006171                            6, 7, 39              BTS_Vol_004
BTS00006172     BTS00006174                              6, 7                BTS_Vol_004
BTS00006175     BTS00006179                            6, 7, 39              BTS_Vol_004
BTS00006180     BTS00006184                              6, 7                BTS_Vol_004




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00006185     BTS00006222                            6, 7, 39              BTS_Vol_004
BTS00006223     BTS00006226                              6, 7                BTS_Vol_004
BTS00006227     BTS00006248                            6, 7, 39              BTS_Vol_004
BTS00006249     BTS00006249                        6, 7, 25, 26, 39          BTS_Vol_004
BTS00006250     BTS00006253                            6, 7, 39              BTS_Vol_004
BTS00006254     BTS00006255                              6, 7                BTS_Vol_004
BTS00006256     BTS00006257                            6, 7, 39              BTS_Vol_004
BTS00006258     BTS00006259                              6, 7                BTS_Vol_004
BTS00006260     BTS00006340                            6, 7, 39              BTS_Vol_004
BTS00006341     BTS00006341                          6, 7, 25, 26            BTS_Vol_004
BTS00006342     BTS00006350                            6, 7, 39              BTS_Vol_004
BTS00006351     BTS00006353                              6, 7                BTS_Vol_004
BTS00006354     BTS00006366                            6, 7, 39              BTS_Vol_004
BTS00006367     BTS00006367                          6, 7, 25, 26            BTS_Vol_004
BTS00006368     BTS00006380                            6, 7, 39              BTS_Vol_004
BTS00006381     BTS00006383                              6, 7                BTS_Vol_004
BTS00006384     BTS00006392                            6, 7, 39              BTS_Vol_004
BTS00006393     BTS00006400                              NA                  BTS_Vol_005
BTS00006401     BTS00006404                              6, 7                BTS_Vol_005
BTS00006405     BTS00006406                               7                  BTS_Vol_005
BTS00006407     BTS00006409                              6, 7                BTS_Vol_005
BTS00006410     BTS00006411                            6, 7, 39              BTS_Vol_005
BTS00006412     BTS00006419                              6, 7                BTS_Vol_005
BTS00006420     BTS00006423                            6, 7, 39              BTS_Vol_005
BTS00006424     BTS00006429                              6, 7                BTS_Vol_005
BTS00006430     BTS00006432                               7                  BTS_Vol_005
BTS00006433     BTS00006436                              6, 7                BTS_Vol_005
BTS00006437     BTS00006438                               7                  BTS_Vol_005
BTS00006439     BTS00006440                              6, 7                BTS_Vol_005
BTS00006441     BTS00006446                               7                  BTS_Vol_005
BTS00006447     BTS00006454                              6, 7                BTS_Vol_005
BTS00006455     BTS00006456                               7                  BTS_Vol_005
BTS00006457     BTS00006464                              6, 7                BTS_Vol_005
BTS00006465     BTS00006469                               7                  BTS_Vol_005
BTS00006470     BTS00006471                              6, 7                BTS_Vol_005
BTS00006472     BTS00006475                               7                  BTS_Vol_005
BTS00006476     BTS00006477                              6, 7                BTS_Vol_005
BTS00006478     BTS00006479                               7                  BTS_Vol_005
BTS00006480     BTS00006486                              6, 7                BTS_Vol_005
BTS00006487     BTS00006488                            6, 7, 39              BTS_Vol_005
BTS00006489     BTS00006490                              6, 7                BTS_Vol_005
BTS00006491     BTS00006494                               7                  BTS_Vol_005
BTS00006495     BTS00006498                              6, 7                BTS_Vol_005




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00006499     BTS00006501                               7                  BTS_Vol_005
BTS00006502     BTS00007104                            6, 7, 39              BTS_Vol_005
BTS00007105     BTS00007106                               7                  BTS_Vol_005
BTS00007107     BTS00007108                              6, 7                BTS_Vol_005
BTS00007109     BTS00007110                               7                  BTS_Vol_005
BTS00007111     BTS00007114                              6, 7                BTS_Vol_005
BTS00007115     BTS00007116                            6, 7, 39              BTS_Vol_005
BTS00007117     BTS00007118                               7                  BTS_Vol_005
BTS00007119     BTS00007123                              6, 7                BTS_Vol_005
BTS00007124     BTS00007127                               7                  BTS_Vol_005
BTS00007128     BTS00007130                            6, 7, 39              BTS_Vol_005
BTS00007131     BTS00007132                              6, 7                BTS_Vol_005
BTS00007133     BTS00007135                          6, 7, 15, 31            BTS_Vol_005
BTS00007136     BTS00007146                              6, 7                BTS_Vol_005
BTS00007147     BTS00007148                            6, 7, 39              BTS_Vol_005
BTS00007149     BTS00007150                               7                  BTS_Vol_005
BTS00007151     BTS00007153                              6, 7                BTS_Vol_005
BTS00007154     BTS00007155                            6, 7, 39              BTS_Vol_005
BTS00007156     BTS00007157                              6, 7                BTS_Vol_005
BTS00007158     BTS00007159                            6, 7, 39              BTS_Vol_005
BTS00007160     BTS00007161                               7                  BTS_Vol_005
BTS00007162     BTS00007164                            6, 7, 39              BTS_Vol_005
BTS00007165     BTS00007167                          6, 7, 15, 31            BTS_Vol_005
BTS00007168     BTS00007190                            6, 7, 39              BTS_Vol_005
BTS00007191     BTS00007192                              6, 7                BTS_Vol_005
BTS00007193     BTS00007195                            6, 7, 39              BTS_Vol_005
BTS00007196     BTS00007197                              6, 7                BTS_Vol_005
BTS00007198     BTS00007199                               7                  BTS_Vol_005
BTS00007200     BTS00007201                              6, 7                BTS_Vol_005
BTS00007202     BTS00007203                            6, 7, 39              BTS_Vol_005
BTS00007204     BTS00007207                               7                  BTS_Vol_005
BTS00007208     BTS00007209                            6, 7, 39              BTS_Vol_005
BTS00007210     BTS00007212                               7                  BTS_Vol_005
BTS00007213     BTS00007214                            6, 7, 39              BTS_Vol_005
BTS00007215     BTS00007218                              6, 7                BTS_Vol_005
BTS00007219     BTS00007220                            6, 7, 39              BTS_Vol_005
BTS00007221     BTS00007222                               7                  BTS_Vol_005
BTS00007223     BTS00007228                              6, 7                BTS_Vol_005
BTS00007229     BTS00007230                               7                  BTS_Vol_005
BTS00007231     BTS00007232                              6, 7                BTS_Vol_005
BTS00007233     BTS00007234                            6, 7, 39              BTS_Vol_005
BTS00007235     BTS00007236                              6, 7                BTS_Vol_005
BTS00007237     BTS00007240                               7                  BTS_Vol_005




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  Begin Bates     End Bates            Responsive to Subpoena Request(s)          Volume
BTS00007241     BTS00007243                              6, 7                BTS_Vol_005
BTS00007244     BTS00007245                               7                  BTS_Vol_005
BTS00007246     BTS00007247                            6, 7, 39              BTS_Vol_005
BTS00007248     BTS00007249                              6, 7                BTS_Vol_005
BTS00007250     BTS00007251                            6, 7, 39              BTS_Vol_005
BTS00007252     BTS00007252                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007253     BTS00007256                          6, 7, 25, 26            BTS_Vol_005
BTS00007257     BTS00007257                           7, 25, 26              BTS_Vol_005
BTS00007258     BTS00007259                          6, 7, 25, 26            BTS_Vol_005
BTS00007260     BTS00007260                           7, 25, 26              BTS_Vol_005
BTS00007261     BTS00007261                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007262     BTS00007264                          6, 7, 25, 26            BTS_Vol_005
BTS00007265     BTS00007265                           7, 25, 26              BTS_Vol_005
BTS00007266     BTS00007266                            25, 26                BTS_Vol_005
BTS00007267     BTS00007268                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007269     BTS00007269                          6, 7, 25, 26            BTS_Vol_005
BTS00007270     BTS00007270                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007271     BTS00007273                          6, 7, 25, 26            BTS_Vol_005
BTS00007274     BTS00007275                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007276     BTS00007276                           7, 25, 26              BTS_Vol_005
BTS00007277     BTS00007280                          6, 7, 25, 26            BTS_Vol_005
BTS00007281     BTS00007281                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007282     BTS00007282                               7                  BTS_Vol_005
BTS00007283     BTS00007283                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007284     BTS00007284                            25, 26                BTS_Vol_005
BTS00007285     BTS00007285                          6, 7, 25, 26            BTS_Vol_005
BTS00007286     BTS00007286                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007287     BTS00007291                          6, 7, 25, 26            BTS_Vol_005
BTS00007292     BTS00007292                            25, 26                BTS_Vol_005
BTS00007293     BTS00007293                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007294     BTS00007309                          6, 7, 25, 26            BTS_Vol_005
BTS00007310     BTS00007311                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007312     BTS00007312                           7, 25, 26              BTS_Vol_005
BTS00007313     BTS00007314                          6, 7, 25, 26            BTS_Vol_005
BTS00007315     BTS00007315                           7, 25, 26              BTS_Vol_005
BTS00007316     BTS00007316                          6, 7, 25, 26            BTS_Vol_005
BTS00007317     BTS00007317                            25, 26                BTS_Vol_005
BTS00007318     BTS00007318                          6, 7, 25, 26            BTS_Vol_005
BTS00007319     BTS00007319                           7, 25, 26              BTS_Vol_005
BTS00007320     BTS00007320                            25, 26                BTS_Vol_005
BTS00007321     BTS00007321                          6, 7, 25, 26            BTS_Vol_005
BTS00007322     BTS00007323                        6, 7, 25, 26, 39          BTS_Vol_005
BTS00007324     BTS00007327                          6, 7, 25, 26            BTS_Vol_005




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                          In the Matter of Binance.US (HO-13865) EXHIBIT A



  Begin Bates     End Bates            Responsive to Subpoena Request(s)           Volume
BTS00007328     BTS00007510                               12                  BTS_Vol_005
BTS00007511     BTS00007520                              N/A                  BTS_Vol_006
BTS00007521     BTS00014444                               39                  BTS_Vol_006
BTS00014445     BTS00014520                               35                  BTS_Vol_006
BTS00014521     BTS00014531                              N/A                  BTS_Vol_007
BTS00014532     BTS00029806                               39                  BTS_Vol_007
BTS00029807     BTS00030616                               12                  BTS_Vol_007
BTS00030617     BTS00030627                              N/A                  BTS_Vol_008
BTS00030628     BTS00030731                               2                   BTS_Vol_008
BTS00030732     BTS00030782                               12                  BTS_Vol_008
BTS00030783     BTS00030783                               2                   BTS_Vol_008
BTS00030784     BTS00030794                              N/A                  BTS_Vol_009
BTS00030795     BTS00030795                               2                   BTS_Vol_009
BTS00030796     BTS00030799                               12                  BTS_Vol_009
BTS00030800     BTS00030811                              N/A                  BTS_Vol_010
BTS00030812     BTS00030812                               2                   BTS_Vol_010
BTS00030813     BTS00031987                1, 9, 12, 11, 14, 32, 35, 39, 43   BTS_Vol_010
BTS00031988     BTS00031999                              N/A                  BTS_Vol_011
BTS00032000     BTS00033432                               9                   BTS_Vol_011
BTS00033433     BTS00033444                              N/A                  BTS_Vol_012
BTS00033445     BTS00033787                               9                   BTS_Vol_012
BTS00033788     BTS00035177                             15, 31                BTS_Vol_012
BTS00035178     BTS00037792                  8, 13, 21, 31, 38, 43, 44, 45    BTS_Vol_012
BTS00037793     BTS00037802                           23, 24, 27              BTS_Vol_012
BTS00037803     BTS00037814                              N/A                  BTS_Vol_013
BTS00037815     BTS00037986                             15, 31                BTS_Vol_013
BTS00037987     BTS00038148                               18                  BTS_Vol_013
BTS00038149     BTS00042024                  8, 13, 21, 31, 38, 43, 44, 45    BTS_Vol_013
BTS00042037     BTS00042147                               9                   BTS_Vol_014
BTS00042148     BTS00042179                               47                  BTS_Vol_014
BTS00042180     BTS00042180                          2, 3, 11, 14             BTS_Vol_014
BTS00042181     BTS00042182                             1, 4, 5               BTS_Vol_014
BTS00042183     BTS00058736                  8, 13, 21, 31, 38, 43, 44, 45    BTS_Vol_014
BTS00058737     BTS00058743                           22, 28, 29              BTS_Vol_014




FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                    BTS00042034
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                                                       CONFIDENTIAL TREATMENT REQUESTED
                                                             BY BAM TRADING SERVICES INC.
                                                              PURSUANT TO 17 C.F.R. § 200.83

                Exhibit B: Narrative Responses to Request Nos. 22, 28 and 29

         BAM Trading provides the following narrative descriptions in response to Request Nos.
22, 28 and 29 of the Subpoena as part of BAM Trading’s ongoing cooperation with the SEC’s
investigation. The responses below are based upon counsel for BAM Trading’s reasonable
investigation in response to each Request. BAM Trading’s business relies on its Master
Services, Software Licensing and Wallet Custody Agreements with Binance Holdings Limited
(“Binance Holdings”) for maintenance of BAM Trading’s infrastructure and user custody
accounts. Accordingly, the first-hand information within BAM Trading’s possession, custody or
control regarding the underlying infrastructure and mechanics provided by non-U.S. Binance
affiliates of Binance Holdings (collectively “Binance.com”) for the Platform’s operation is
necessarily limited, which may affect the completeness of the below responses to the Requests.
Furthermore, BAM Trading is currently in the process of making enhancements to its business,
including compliance enhancements. All responses below are therefore based on the
information currently within BAM Trading’s possession. Because the investigation is still
underway, BAM Trading expressly reserves the right to amend, revise, correct, supplement, or
clarify any of the below narrative descriptions pursuant to additional facts or information
gathered at any time after the date of this response.

SEC Request No. 22: Descriptions, schematics, or Documents sufficient to show how BAM
Trading and any other Person(s) (including entities) provide BAM Trading’s services, including,
but not limited to, distribution of digital assets; facilitation of automated trading of digital assets;
custody of funds and digital assets; compliance services; clearing services; market-making
services; staking-related services; or other services Concerning digital assets.

Response to SEC Request No. 22:

I.      “Distribution of Digital Assets, Facilitation of Automated Trading, and Clearing
        Services”

        BAM Trading’s digital asset trading and settlement is operated through a central order
book (“Order Book”). BAM Trading customers (“Users”) can buy and sell various digital assets
for other digital assets or U.S. dollars (“USD”). To place an order on the Order Book, a User must
have an available balance of the relevant asset in their digital asset wallet or their USD wallet
(“Linked Wallet”) sufficient to cover the total value of the order plus any applicable fees. When a
User places an order, that quantity of the relevant asset becomes subject to a hold. The BAM
Trading Platform then connects with a matching engine to match “Taker Orders” with open “Maker
Orders” on the Order Book based on “Price-Time Priority.” 1 BAM Trading does not manually
match Taker and Maker Orders, but instead relies upon the matching engine technology it
licenses from Binance Holdings under a Master Services Agreement and Software Licensing



1
         “Price-Time Priority” means that each time a Taker Order is posted, the Taker Order is matched
with the earliest in time Maker Order at the best price on the Order Book; and to the extent that the Taker
Order is not completely filled by that Maker Order, it is matched with any subsequent Maker Orders at that
price, in the sequence those Maker Orders were posted. To the extent that the Taker Order is not
completely filled by one or more Maker Orders, it is matched with one or more Maker Orders at the next
best price, in the sequence those Maker Orders were posted, and this process is repeated until the Taker
Order is completely filled. All Users accessing the BAM Trading Platform are subject to the same Price-
Time Priority.


                                1
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Agreement, both dated January 7, 2020 (together with the Trademark Services Agreement and
the Wallet Custody Agreement, the service level agreements, or “SLAs”).

       Once orders are filled, the settlement of such filled orders occurs automatically as the
relevant digital asset is distributed to the linked digital asset wallet(s). BAM Trading does not itself
perform any matching or execution of the trades. Furthermore, BAM Trading does not currently
perform settlement or clearing services relating to the exchange of digital assets. All services
associated with clearing trades on the BAM Trading Platform are provided by Binance.com.

II.     Custody of Digital Assets

        The BAM Trading Platform, through its custody agreement, provides Users with a “Digital
Asset Wallet” that supports the sending, receipt, and storage of supported digital assets through
the User’s web browser or mobile app. Binance.com provides BAM Trading with, among other
things, the following services:

        •   Establishing and maintaining the BAM Trading Platform customer custody accounts
            (“Customer Accounts”) and the Platform’s own custody account (“Platform Account”),
            as instructed by BAM Trading.
        •   Holding in safe custody the digital assets in each Customer Account and the Platform
            Account in accordance with certain security standards, among other actions, including
            safekeeping all private keys, physical keys, access codes, access devices,
            combinations, and similar security codes, devices, and identifiers.
        •   Timely, accurately, and safely transferring digital assets from any Customer Account
            or the Platform Account in accordance with instructions from BAM Trading.
        •   Establishing, maintaining, and periodically updating the storage system to ensure the
            security of the digital assets in each Customer Account and the Platform Account.
        •   Maintaining capital adequacy requirements to the extent required by applicable law.
        •   Maintaining cybersecurity controls at every step of the key and wallet creation process.
        •   Maintaining a security program, including with respect to technical, physical, and
            administrative and organizational safeguards, which includes regular testing.

III.    Staking-related Services

        BAM Trading will provide more information about its staking-related services in connection
with the forthcoming Response to SEC Request No. 40.

IV.     Custody and Transfers of USD

       A User who has opened accounts with Binance.US and Prime Trust LLC (“Prime Trust”),
and has loaded digital assets or USD into their Binance.US wallet or Prime Trust Account,
respectively, may engage in trades by placing an order into an electronic, real-time list of open
orders on the Order Book. 2 When any two Users on the BAM Trading Platform have submitted
compatible orders, the matching engine will automatically identify the matching orders and
execute the trade by (i) removing both orders from the Order Book, and (ii) facilitating the
settlement of the transaction by initiating corresponding debits and credits in the counterparties’


2
        We note that not all Users may wish to trade with USD. If a User wishes to deposit and trade only
using digital assets, such User would not be required to set up a Prime Trust Account.


                                2
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                           BTS00058738
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Digital Asset Wallets and/or by instructing the execution of corresponding debits and credits in
the counterparties’ Prime Trust Accounts.

        Institutional clients may also deposit and withdraw USD through Silvergate Bank, provided
they: (1) maintain a Silvergate Exchange Network (“SEN”) account; (2) request that BAM Trading
enable transfers between their SEN account and BAM Trading’s corporate SEN account; and (3)
provide written authorization to Silvergate Bank to facilitate transfers between their SEN account
and BAM Trading’s SEN account. Through their SEN accounts, institutional clients are able to
transfer USD across exchanges.

V.     Market Making Services

        BAM Trading does not itself act as a market maker. However, several institutional Users
– including some that we understand to be affiliated with BAM Trading’s ultimate beneficial owner 3
– provide market making services on the BAM Trading Platform. Institutional Users generally
receive Maker and Taker fees of 0% and 3%, respectively. BAM Trading may negotiate
preferential trading fee structures based on the institutional Users’ amount of trading activity
(which BAM Trading revisits periodically if trading volumes change).

       Customer orders for trades conducted using the OTC Desk are fulfilled by Alameda
Research Ltd. User orders for trades conducted using “One-Click Buy/Sell” are fulfilled by a
separate Maker, Sigma Chain AG. BAM Trading does not charge any trading fees for OTC trades,
but BAM Trading and the liquidity provider receive a spread in connection with any trades.

VI.    Compliance Services

       A.      Account Verification and Customer Onboarding

        The BAM Trading compliance team (the “Compliance Team”) has established robust
customer onboarding and due diligence procedures in accordance with obligations set forth under
the Bank Secrecy Act (as amended by the USA PATRIOT Act, the “BSA”) and its implementing
regulations in order to maintain effective Know Your Customer (“KYC”) and due diligence
processes. The Compliance Team will reject prospective customers if their identity cannot be
adequately verified, if they are identified as being subject to sanctions, or if they are deemed to
pose a compliance risk, for example, based on negative news screening and/or internet searches.

       Before completing the account verification process, Users must first register an account
on the BAM Trading Platform and generate login credentials. Account registration by itself does
not authorize Users to trade.

         The Compliance Team maintains separate account verification processes for retail and
institutional Users. Retail Users may choose from three levels of verification to access various
trading abilities, including fiat trading:

       •    Basic Verification permits Users to deposit and withdraw digital assets, sets a daily
            withdrawal limit of up to the digital asset equivalent of USD 5,000, and allows
            customers to trade crypto-to-crypto pairs. It does not, however, allow fiat deposits or

3
 Those include Merit Peak Limited and Sigma Chain AG, which we understand to have as a beneficial
owner Changpeng Zhao.


                                3
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                       BTS00058739
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           withdrawals or fiat-to-crypto trading. As part of the Basic Verification process, BAM
           Trading assesses a User’s full name and address. BAM Trading uses a third party
           provider, Acuant, to verify the User’s name and address information and to conduct
           sanctions screening. If the customer fails one or more checks, then a BAM Trading
           Compliance analyst will manually review the information and ask the User to submit a
           government-issued ID, proof of address, and photo through the ZenDesk customer
           service platform for verification by the third-party compliance verification services
           provider, Jumio.

       •   Advanced Verification permits the above activities, allows deposits of up to the digital
           asset equivalent of USD 5,000, and increases the daily digital asset withdrawal limit to
           the digital asset equivalent of USD 1 million. Like Basic Verification, it does not allow
           fiat deposits/withdrawals or fiat-to-crypto trading. Advanced Verification requires the
           User’s proof of address, government-issued ID, and a photo for verification by Jumio.
           If Jumio is unable to verify all submitted documents, then a BAM Trading Compliance
           analyst will manually review them and may ask the User to re-submit any documents
           (e.g., if the photo is blurry or proof of address is out of date), disable the User’s account,
           or refer the case to the BAM Trading investigations team for review of unusual KYC
           activity.

       •   USD Account Verification (also known as “Cash Account Verification”) permits the
           above activities and allows USD deposits/withdrawals for fiat-to-crypto trading. BAM
           Trading contracts with third-party vendor Prime Trust for USD account verification and
           USD custody services. Users must create a Prime Trust Account and submit answers
           to a questionnaire regarding their sources of assets and anticipated trading activity.

       Institutional (corporate) Users have a separate account verification process. Corporate
Account Verification permits institutional Users to deposit and withdraw both digital assets and
USD and allows trading for all digital asset and USD pairs. Institutional clients have negotiated
deposit/withdrawal limits, access to the OTC Trading Portal, flexible API limits, and 24/7 customer
support. The Compliance Team has discretion to increase an institutional User’s trading limits.

         For the Corporate Account Verification Process, potential institutional Users must submit
a completed Google Form questionnaire to BAM Trading and complete identification verification
through Jumio. Institutional clients are required to submit documentation regarding their formation,
corporate governance, proof of address, bank verification, organizational charts, ultimate
beneficial owners (“UBOs”), and source of funds. They must also complete a UBO form and
present documentation for each UBO. As part of its compliance due diligence process for
institutional Users, the Compliance Team may conduct enhanced due diligence (“EDD”) of
institutional Users deemed to be higher-risk because of actual or anticipated transaction activity,
ownership structure, anticipated and actual trading volume and transaction types, and
involvement in transactions involving high-risk jurisdictions. EDD may include identifying and
verifying the beneficial owner(s) of legal entities, negative news and internet searches, collecting
and analyzing information on the source of funds and/or purpose of transactions, assessing
expected transaction activity, and any other known facts about the customer. The Compliance
Team uses the online tool Refinitiv World-Check One to screen institutional Users and associated
parties against Office of Foreign Assets Control (“OFAC”) and non-U.S. sanctions lists. BAM
Trading requires institutional Users to use a business bank account registered under the same
business name for any fiat deposits or withdrawals.



                                4
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                           BTS00058740
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       B.      Transaction Monitoring

        BAM Trading has a transaction monitoring program that is designed to prevent and detect
money laundering, terrorist financing, and other financial crimes in compliance with applicable
laws and regulations. The transaction monitoring program is part of BAM Trading’s more general
Bank Secrecy Act/Anti-money laundering program (BSA/AML Program), which applies to all BAM
Trading business activities and personnel (including any third-party service providers) and is
overseen by BAM Trading’s BSA Compliance Officer. The transaction monitoring program
applies to all transactions conducted through the BAM Trading Platform, including all USD and
digital asset deposits, withdrawals, and trades. Under the transaction monitoring program, all
transactions are monitored and alerts regarding potential suspicious or fraudulent activity are
generated for review by the Compliance Team. If necessary, the Compliance Team conducts
further investigation.

     BAM Trading utilizes Acuant (formerly IdentityMind), Elliptic Navigator, and USA
NewAdmin for transaction monitoring and related services.

       •    Acuant: Acuant serves as BAM Trading’s transaction monitoring, alert, and case
            management system. Acuant monitors transactions and generates a set of tailored
            alerts based on certain suspicious activity triggers.

       •    Elliptic Navigator: Elliptic Navigator is BAM Trading’s third-party blockchain analytics
            tool that screens wallet addresses against a known list of wallet addresses linked to
            illicit activity.

       •    USA NewAdmin: USA NewAdmin provides back-end systems services to BAM
            Trading, documenting trading activity on the BAM Trading Platform. The Compliance
            Team uses USA NewAdmin to review potential suspicious on-platform activity.

       Alongside these third-party transaction monitoring services, the Compliance Team
monitors transactions for “red flag” activities, including trading that may suggest that a transaction
is being structured to avoid financial thresholds, unusually large transactions, extremely rapid
movements of funds, transactions involving OFAC-sanctioned countries or persons, and
fraudulent KYC documents, as well as the list of indicators of virtual currency abuse published by
the Financial Crimes Enforcement Network in May 2019.

       All generated alerts are reviewed by the Compliance Team. During the initial case review
of an alert, the Compliance Team reviews any alerts associated with a transaction and any
materials related to the alerts, the relevant User’s account opening and KYC information, and
transaction details, and undertake additional investigative steps as warranted, including
requesting additional information from the relevant User through Zendesk.

         Following its review procedures, the Compliance Team will determine whether a User’s
activity should be deemed “suspicious,” that is, activity indicating the possibility of transactions
designed to evade the BSA and its regulations, transactions that serve no business or lawful
purpose, or transactions that attempt to use BAM Trading to facilitate criminal activity. After
determining that a transaction or activity is suspicious, the BAM Trading compliance analyst
working on the case prepares a Suspicious Activity Report (“SAR”) determination synopsis which
summarizes the suspicious nature of the transaction or activity, and drafts the narrative section
of the SAR, both of which are sent to the relevant Compliance Team member. If the analyst


                                5
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                         BTS00058741
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determines that the transaction or activity is not suspicious, the analyst prepares a No-SAR
determination synopsis, summarizing why the transaction or activity is not suspicious, and then
that synopsis is sent to BAM Trading’s BSA Compliance Officer.

         A SAR will be filed if BAM Trading knows, suspects, or has reason to suspect that a
transaction involves funds derived from illegal activity as part of a plan to violate or evade any
federal law or regulation, is structured to evade any requirement of 31 C.F.R. Chapter X, has no
apparent economic or lawful purpose, or involves the use of BAM Trading to facilitate criminal
activity. It is also BAM Trading’s policy to file a voluntary SAR for any transaction that it considers
relevant to a possible violation of law.

SEC Request No. 28: Documents sufficient to explain how any digital asset transactions made
using the BAM Trading Platform are published to the digital assets’ blockchains and the roles,
involvement, or inputs of any Person(s) (including entities).

Response to SEC Request No. 28

        Binance.com serves as custodian for all of BAM Trading’s Users’ digital assets and, BAM
Trading understands that, pursuant to the terms of that agreement, Binance.com provides certain
services. As custodian for BAM Trading, Binance.com maintains segregated wallets for each
digital asset listed for trading on the BAM Trading Platform. For security reasons, all of BAM
Trading’s Users’ digital assets of each type are pooled together in the omnibus hot wallet. Within
each omnibus wallet is an internal ledger referred to as the PNK, where individual Users’ asset
balances are tracked based upon unique deposit addresses and memoranda. As Users buy and
sell digital assets on the BAM Trading Platform, these transactions are not published on the
blockchain, but rather individual transactions are programmatically reconciled with debits and
credits within the omnibus wallets for each asset, resulting in adjustments to the internal ledger.
The transaction information about each purchaser or sale on the BAM Trading Platform is stored
within a database on the Platform. Users can then utilize BAM Trading’s API to access their
trading data, which translates the transaction code in the database into a user-friendly format.

        While transactions on the BAM Trading Platform itself occur “off-chain,” transactions are
published to the blockchain for each respective digital asset on the BAM Trading Platform at the
time that funds are either deposited or withdrawn from a User’s digital asset wallet on the Platform
to an external digital wallet.

SEC Request No. 29: Documents sufficient to explain each step in the chain of custody of funds
or digital assets for all types of transactions or transfers available on the BAM Trading Platform
(e.g., staking, fiat transactions, digital asset transactions) and the roles, involvement, or inputs of
any Person(s) (including entities), including but not limited to, any exclusive or shared control or
custody of digital assets.

Response to SEC Request No. 29

       BAM Trading has contracted with service providers for both USD currency and digital
asset custody services, as described further below. For USD custody services, BAM Trading
uses Prime Trust pursuant to a services agreement. For digital asset custody services, BAM
Trading uses Binance.com.




                                6
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                          BTS00058742
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I.     Fiat Transactions

       Prime Trust provides USD custody and transmission services to its U.S. users. In order
to purchase digital assets with USD, or receive USD in exchange for digital assets on the BAM
Trading Platform, a User must also create a Prime Trust Account as discussed further in the
Response to SEC Request No. 22. Once verified, Prime Trust issues the User an individual Prime
Trust Account, which can be used to facilitate trades on the BAM Trading Platform. BAM
Trading’s Users transfer USD into Prime Trust’s omnibus accounts, which are held at various
FDIC-insured banks. Prime Trust is the custodian for all User funds underlying their Prime Trust
Account in a manner that ensures eligibility for FDIC pass-through insurance coverage through
the use of the Insured Cash Sweep service administered by Promontory Interfinancial Network.
The deposits held in Prime Trust’s omnibus accounts are also eligible for up to $250,000 of FDIC
pass-through insurance coverage per beneficial owner.

        At no point does BAM Trading hold or transmit USD on behalf of retail Users. BAM
Trading’s activities with respect to the USD deposits held by Prime Trust are limited to providing
instructions (via the integration of the Prime Trust API with the BAM Trading Platform) for the
transfer of funds among Users’ Prime Trust Accounts to assist in the settlement of trades. The
chain of custody of a representative trade involving USD and digital assets using a Prime Trust
account was previously provided at Diagram 4 in the Response to Request Nos. 23, 24 and 27.
See BTS00037797 - BTS00037798.

II.    Digital Asset Transactions

       As explained in the Response to SEC Request No. 22, BAM Trading has entered into a
Wallet Custody Agreement for certain digital asset custody services and technical support
services to BAM Trading, including custody concerning the digital assets in User’s wallets on the
BAM Trading Platform. As the digital asset custodian for BAM Trading, Binance.com maintains
cybersecurity controls over the key and wallet creation process. These wallets are located on
U.S. servers and hosted on the cloud, via Amazon Web Services.

        Digital assets flow from the User’s external digital wallet into their BAM Trading Wallet,
where the funds are then held in an omnibus hot wallet associated with each individual digital
asset. The User’s individual holdings of each digital asset are tracked on an internal ledger. The
assets in the omnibus wallets are held in custody by Binance.com. The digital assets remain
within this hot wallet structure until the digital assets are eventually removed to the User’s external
digital wallet. The chain of custody of a representative trade involving digital assets was
previously discussed at Diagram 5 in the Response to Request Nos. 23, 24 and 27. See
BTS00037798 - BTS00037799.

        BAM Trading will provide more information about its staking-related services in connection
with the forthcoming Response to SEC Request No. 40.




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FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                          BTS00058743
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                                                             CONFIDENTIAL TREATMENT REQUESTED
                                                                   BY BAM TRADING SERVICES INC.
                                                                    PURSUANT TO 17 C.F.R. § 200.83
July 9, 2021



BY FEDERAL EXPRESS AND EMAIL (RULE 83CTRS@SEC.GOV)

Freedom of Information Act Officer
Office of Freedom of Information and Privacy Act Operations
U.S. Securities and Exchange Commission
100 F Street, NE
Mail Stop 2736
Washington, DC 20549

Re:     In the Matter of Binance.US (HO-13865)

Dear Sir/Madam:

        The undersigned represent BAM Trading Services Inc. (“BAM Trading”) in the above captioned
matter. Pursuant to Securities and Exchange Commission Rule 83, 17 C.F.R. § 200.83, we formally
request that the U.S. Securities and Exchange Commission (the “Commission”) afford confidential
treatment to our July 9, 2021 letter to Kathleen Hitchins, Senior Counsel, Division of Enforcement, Bates-
stamped BTS00042025 – BTS00042034 and documents produced under cover of that letter and the
exhibit thereto, Bates-stamped BTS00042037 - BTS00058743. A copy of our letter to Ms. Hitchins is
enclosed in an envelope marked “FOIA Confidential Treatment Requested.” This request also applies to
any transcripts, notes, memoranda, or other materials of any sort which are made by any employee of
the Commission or any other governmental agency and which incorporate, refer, or relate to the letter
and enclosed documents (collectively, the letter dated July 9, 2021 and the documents enclosed therein,
and any materials referring to the letter and the contents of the enclosed documents are referred to herein
as the “Confidential Materials”).

        All of the Confidential Materials contain or constitute confidential information. We therefore
request and expect that all of the Confidential Materials will be kept in a non-public file and that access
to the Confidential Materials by any third party not a member of the Commission or its staff will be denied.
Should the Commission receive any request for the Confidential Materials, whether pursuant to the
Freedom of Information Act, 5 U.S.C. § 522, or otherwise, we understand and expect that we will be
given an opportunity to object to such a disclosure. Moreover, should the Commission be inclined to
disclose the Confidential Materials to any third party not a member of the Commission or its staff, it is our
expectation and request that, in accordance with normal Commission practice, we will be given ten



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G GOODWIN
FOIA Officer
July 9, 2021
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                                                                PURSUANT TO 17 C.F.R. § 200.83

business days’ advance notice of any such intent by the Commission so that our client may pursue any
available remedies. In that event, we further request that you telephone undersigned counsel immediately
in addition to sending the required notice by mail.

       On behalf of BAM Trading, we request an acknowledgement of receipt of this written request that
information not be disclosed under FOIA. Kindly acknowledge receipt of this letter by signing and dating
the enclosed copy and returning it to Meghan K. Spillane in the enclosed self-addressed, stamped
envelope.

      Please contact any of us at the numbers provided above should you have any questions or
concerns about this request for confidential treatment.



Sincerely,


/s/ Grant P. Fondo

Grant P. Fondo
Meghan K. Spillane


cc:     Kathleen Hitchins, Senior Counsel, U.S. Securities and Exchange Commission
        Paul Kim, Assistant Director, U.S. Securities and Exchange Commission
        Ann Rosenfield, Senior Counsel, U.S. Securities and Exchange Commission
        Adam Gottlieb, Senior Counsel, U.S. Securities and Exchange Commission

        Matthew Solomon, Cleary Gottlieb Steen & Hamilton LLP
        Alexander Janghorbani, Cleary Gottlieb Steen & Hamilton LLP




Acknowledged by: _______________________

Date: _________________________________




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